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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

 INTELLECTUAL VENTURES I LLC,

            Plaintiff,

       v.                                      C.A. No. 13-1668-LPS

 AT&T MOBILITY LLC;
 AT&T MOBILITY I~ LLC; and
 NEW CINGULAR WIRELESS .SERVICES, INC.,

                                                   I
            Defendants.                                REDACTED PUBLIC VERSION

 and

 ERICSSON INC. and
 TELEFONAKTIEBOLAGET LM ERICSSON

            Intervenors

 INTELLECTUAL VENTURES I LLC,

            Plaintiff,

       v.                                      C.A. No. 13-1669-LPS

 CRICKET COMMUNICATIONS, INC.,

            Defendant.

 and
                                                                       '!
 ERICSSON INC. and
 TELEFONAKTIEBOLAGET LM ERICSSON

            Intervenors
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 INTELLECTUAL VENTURES I LLC,

            Plaintiff,

       v.                                      . . c.A.·No. 13-1670-LPS

 NEXTEL OPERATIONS, INC. and
 SPRINT SPECTRUM L.P.,

            Defendants.

 and

 ERICSSON INC. and
 TELEFONAKTIEBOLAGET LM ERICSSON

            hitervenors

 INTELLECTUAL VENTURES I LLC::,

            .Plaintiff,

       v.                                      C.A. No. 13-1671-LPS

 T-MOBILE USA, INC. and T-MOBILE US, INC.

            Defendants.

 and

· ERICSSON INC. and
  TELEFONAKTIEBOLAGET LM ERICSSON

            Intervenors
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       INTELLECTUAL VENTURES I LLC,

                       Plaintiff,

               v.                                                  C.A. No. 13-1672-LPS

       UNITEb STATES CELLULAR CORPORATION, :

                       Defendants.

       and

       ERICSSON INC. and
       TELEFONAKTIEBOLAGET LM ERICSSON

                       Intervenors


                                           ME.MORANDUM ORDER

              Pending before the CoUrt are: (i) Defendants' Motion to Strike Portions of Plaintiff

       Intellectual Ventures I's ("IV") Infringement Contentions for U.S. Patent Nos. 6,640,248 (the

       "'248 patent") and 5,602,831 (the "'831 patent") (C.A. No. 13-1668-LPS D.I. 439)1 ("Motion to
'<.



       Strike Infringement Contentions"); (ii) Defendants' Motion to Strike Portions of the Exp~rt

       Reports of Dr. Todd Moon with respect to claim 1 of the '248 patent (D.I. 477) ("Moon

       Motion"); (iii) Defendants' Motion for Leave to Amend their Prior Art List ("Motion to

       Amend") (D.I. 431 ); and (iv) letters from Defendants and IV discussing outstanding discovery

       disputes (D.I. 490; D.I. 495;. D.I. 520) ..

       Legal Standards

              Infringement contentions are considered to be "initial disclosures" under Federai Rule of

       Civil Procedure 26(a). See United States District Court for the District.of Delaware, Default:


               Unless otherwise noted, all citations to the docl~et are to.C.A. No. 13-1668-LPS.
               1



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     Standard/or Discovery§ 4(a). A failure to disclose iinder Rule 26(a) "may lead to [the]                                    I
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                                                                       .                            .                       I
     exclusion of the materials in question" under Rule 37(c)(l). Lambda Optical Solutions, LLC v.
                                                                           •                                                I



     Alcatel-Lucent USA 'Inc., 2013 WL 1776104, at *2 (D. Del. Apr. 1_7, 2013). In relevant part,

     Rule 37(c)(l) provides that "[i]f a party fails to provide informa:tion ... as required by Rule 26(a)
                                                                       •                                                    I       ,


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     ... , the party is not allowed to use that infomiation ... to supply evidence on a motion, at a :                      I
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     hearing, or at a trial; unless the [party's violation] was substantially justified or is harmless.". i
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            . In determining whether a failure to disclose was substantially Jijstified or hannless, an~
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     deciding whether to sµike potentially critical evidence, courts consider the following factors: i
                                                                   '                                                    i
     (1) the importance of the information withheld; {2) the prejudice or surprise to the party against

     whom the evidence is offered; (3) the likelihood of disruption of the trial; (4) the possibility            o,~
                        .           .                                                                                   I

     curing the prejudice; (5) the explanation for the failure to disclose; and (6) the presence of bad
                                        '                                                                               !




     faith or willfulness in not disclosing the evidence (the "Pennypack factors''). See

     Konstantopoulos v. Westvaco Corp., 112 F.3d 710, 719 (3d Cir.1997) (citing Meyers v.

 •
     Pennypack Woods Home OwnershipAss~n, 559 F.2d 894, 904-05 (3d Cir.1977)). Exclusion ~f                 .           !




     "critical evidence" is an "extreme sanction, not normally to be imposed absent a showing· of

     willful deception or flagrant disregard of a court order by the proponent of the evidence." In re
                                                             .                                                      I

     Paoli R.R. Yard PCB Litig., 35 F.3d ·717, 791-92 (3d        Cir.1~94)         (internal quotation marks        I

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     omitted). The determination of whether to exclude evidence is committed to the discretion of.the
                                                                                                                    I
                                                                                                                    I
     Court. See id. at 749.                                                                                         I
                                                                                                                .   :·
     Motion. to. Strike Infringement Conten~ions                                                                    I
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                                                 .                                                              .. I

            D~fendants move to strike IV's final i~ngement contentions for the '248 patent, IVJs
                                                                               .                                    I

     doctrine of equivalents contentions for the '248 and '831 patents, and IV's new infringement/
                                                                                                                    I




                                                        2
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 theory for the '831 patent. (See D.I. 440 at 1-3) The Court addresses each issue in turn~

        Final Infringement Contentions for the '248 Patent ·

        Defendants contend that the Court should strike N's final infringemen~ contentions f~r

 the '248 patent because IV's contentions '~fail[] to address. the latter part of the Court's
                          .                                                                                 I~.

 construction" of the ~enn "application-aware;" (D.I. 440 at 1) As N ~ecognizes~ the Court's :
                                                                                                            I
               .                   .                                                                        I

 construction of "application-aware" includes two requirements: "(l) that the resource allocatqr
                                                                                                •       I


 have 'knowledge of the type of data application' and (2) that it 'take[] into account, when : I ·
                                                                                                '       I
                                                                                                .       I

 allocating bandwidth, information about applications at [the Open Systems
                                                                        .
                                                                           Interworking Medel]
                                                                                           I
                                                                                                        I

 application layer 7."' (D.l. 447 at 2 (quoting D.I. 378 at 15 (brackets in original))) However,[ as
                                                                              .                         '
                                                                                                        I




 Defendants point out, N's    fin~l infrin~ement co~tentions d~ not include the phrase "layer 7,"f but
 instead include IV's own "originally proposed ... and expressly rejected ... construction."        ~.I.
                                                                                                        I


 440 at 1; see also D.I. 378 at 15) In Defendants' view, "N's refusal to apply the Court's .
                                                   .                                                    i
 construction [is] -~rr~~tably prejudic[ial]" to Defendants, who '.'have had. no notice ... ofhoi the

 accused products allegedly meet the application-aware limitation." (D.I. 440 at 1 (emphasis        I



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                                                                                                    I
        N re.sponds that "Defendants are on adequate notice of IV' s ... lH°eral infringement

 theory" because both N's initial and final infringement contentions account for the Court's

 construction. (D.I. 447 at 3) IV further contends that Defendants had adequate notice of IV'       I
 literal infringement theory, since "to an engU:eer the words 'appl~catiOn layer' and 'layer 7' ate
                                                                                                    !
 ·synonymous." (Id.)                                                                                !
                                                                                                    I

        "Infringement conteiitions ... serve the purpose ofproviding notice to the      Defendant~ of
 infringement theories beyond the mere ianguage of the patent claim."      Motio~ Games, LLC v.I

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 Nintendo Co., 2015 WL 1774448, at *2 (E.D. Tex. Apr. 16, 2015); see also Fujitsu Ltd. v.
                                                                                               .
                                                                                                         II
 Tellabs Operations, Inc.~ 2012 WL 5444979 (N.D. Ill. Mar. 21; 2012) (same). Here, IV's findl

 infringe~ent   contentions fail_ to provide Defendants adequate notice of "how the accused

 products allegedly meet the application-aware limitation," as !V's infringement contentions

 incorporate only the first part of the Court's construction. (D.I. 440 at 1) IV's omission of the

 latter half of the Court's   construction~ including the phrase "layer 7" -is problemati~ becausf,
 as the Court observed in its claim construction opinion, application-awareness requires both ~arts

 of the Court's construction. (See D.I. 462    a~   1; see also D.I. 378 at 1_6 n!7) Moreover, during the

 Court's claim construction hearing, IV also agreed that claims 1 and 20 of the '248 patent

 required that "information about applications at layer 7 be accounted for.~' (D .I. 3 78 at 16

 (internal quotation marks omitted)) IV's contentions appear, however, to.be based on IV's

 proposed construction of "applicatio.n-aware,"2 which the Court rejected. (See D.I. 378 at 15,16)

        IV's failure to serve infringement contentions that apply the Court's claim construction
                                                                                                     I

                                                                                                     I
 was neither substantially justified nor harmless. See generally Phillips v A WH Corp., 415 F .,d

 1303, 1318 (Fed. Cir. 2005) ("[A] court should discount any expert testimony that is clearly at
                                                                         .                           I

 odds with the claim construction mandated by the claims themselves ....")(internal quotatio.n

 marks omitted); Kraft Food Group Brands LLC v. TC Heartland, LLC, 2017
                                                                     . . WL 134703, at. l2


        2
        · rv proposed "plain and ordinary meaning" or "[a resource allocator at the· MAC layer/a
 MAC layer] that allocates resources based on application type." (D.I. 378 at 15) The issue tHe
 Court confronted arose from IV' s contention that while the resource allocator "must have acJess
 to layer 7 information," the allocator "need not take that information into account when      [
 allocating network reso:urces." (Id. at 15-16) (emphasis added) Based on the discussion at t~e
 claim construction h~aring, the Court understood that IV agreed that the allocator must take the
 layer 7 information into account when allocating netWork resources, and the Court's construction
 includes such a requirement. (See id. at 15)

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 (D. Del. Jan. 12, 2017) ("[E]xpert testimony that is inconsistent with the Court's claim

 construction is unreliable and unhelpful to the finder of fact ....").

        The Pennypack factors support sttjking IV' s contentions. While IV' s contentions max be
                                          .                                                                   I

 of critical importance -providing a basis for IV's infringement theory with respect to the '248

 patent - they are legally deficient, as they fail to apply the Court's claim construction.

 Consequently, they s~verely prejudice Defendants, who "have ... no notice ... of how the

 accused products allegedly meet the application-aware limitation." (D.I. 440 at 1 (emphasis

 omitted)) As IV insists on adhering to a theory of infringement that is inconsistent wit~ the

 Court's claim construction, there is no way to cure the prejudice to Defendants, despite the fact

 that five months remain before trial. While there is no evidence IV has acted in bad faith, its

 failure to provide contentions that account for the entirety of the Court's construction - even after
                        .                                .                  .                             I


 IV conceded at the claim construction hearing that infringement requires awareness of level 7i,

 and after the Court adopted Defendants' construction - is willful.

        IV characterizes.Defendants' motion as "a thinly-veiled slUllmary judgment motion,"




 Whether this will lead to a grant ~f summary judgment is an issue not presently before the Court.
                  .                           .                                               .       ·I.
 Should a request for such reliefbe made, both sides will have notice and a full and fair         ,   I




 opportunity to be heard before the C~urt determines if summary judgment should be granted. [
                                                                                                      I


 Furthennore, IV has long been on nOtice of the deadlines for service.ofinfiingement contentns

 and the Court's procedures for resolving disputes as to their adequacy and as to whether deficient


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 contentions should be stricken. (See, e.g., D.I. 90 a:t   ~ 7(f) (setting deadline for Providing ooL
 infringement contentions), 10 (motion to strike procedures))

           Accordingly, Defendants' motion to strike IV's final infringement contentions with

 respect to the '248 patent is GRANTED.

           Doctrine of Equivalents ("DOE") Contentions for the '248 and '831 Patents
                                                                                                              I

           Defendants argue that the Court should strike IV's DOE contentions for both the '248iand

 '831 patents because "IV has. not ... attempted to identify equivalents for each claim element! as
                                                  .                                            !
 construed by the Court." (D.I. 440 at 2) IV counters that its DOE theories for the '248 and '831
                                                                            .                                 I
               •                                                        •                                     I


 pat~nts   "provide[] sufficient notice" to Defendants. (D.I. 447 at 4 (internal punctuation omitt~d))

                   '248 Patent

           With respect to the '248 patent, Defendants contend that "IV's contentions make no
                                                                                                          i

 mention of the Court's construction [of the '248 patent] ... and make no attempt to identify ~n
                                  .                                                                       '



 equivalent for the 'application-aware'   limitatio~."   (D.1. 440 at 2) IV counters that _its DOE        I




 theory and literal infringement theory are "based qn the same evidence" and its contentions ~ith
                                                           .                                              I
 respect to both theories are adequate for the same reasons. (See D.I. 447 at 4 (emphasis· omitted))
                                                                                            .             I
                                                                                    •                     I
 ("[B]ecause IV's literal infringement contentions are adequate (as discussed above), IV's DO;E

 theory- which is based on the same evidence - is also adequate.")                                    I


                                                                                                      i

           The Court, however, has found IV's contentions with respect to literal infringement of the
           .                          .     .    .              .                                     I



 '248 patent to be inadequate. As IV essentially relies on the· asserted adequacy of its literal     .1
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 infringement contentions as the basis for the purported adequacy of its DOE contentions, it ,

 follows that the Court ~ow finds IV's _DOE contentio.ns with respect to the '248 patent to     b~    .
                                                                                                      i.
 inadequate.


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           More particularly, to prove infringement through the doctrine of equivalents, "[a]                /
                                                                                                             I


    patentee must establish equivalency on a limitati~n-by-limitation basis by ... linking argumeAt
                                                                                                             !


    as to the insubstantiality of the differences between the claimed invention and the accused device
                                           .   .                               .            .                I


    or process." Akzo Nobel Coatings, Inc. v. Dow CIJem. Co., 811 F.3d 1334, 1342 (Fed. Cir. 2q16)
                                                                                                     . I
    (internal quotation marks omitted). IV's DOE contentions fail to meet this standard. They do

    not "identify an equivalent for the 'application-aware' limitation" (D.I. 440 at 2) or explain "Jow
                                                                                                                     i
    the accused products perform the same function in substantially the same way to achieve              I           1·


                                                                                                         I
    substantially the same result" (D.L 462 at 2).                                                           I

                                                                                                             I


           For the reasons already given with respect to striking IV's contentions of literal            I

.
    infiingement, the Pennypack   f~tors further support striking N's '248 patent contentions ~J         i


    respect to DOE. IV's DOE contentions are undoubtedly important to .its infringement case, bht.
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    their deficiency is highly prejudicial to Defendants, who lack notice of how their accused

    products purportedly infringe under the DOE. (See D.l. 378 at 15) IV's stance leaves no
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    opportunity to cure this prejudice, regardless of how much time is left before trial.                i

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           Accordingly, Defendants' motion to strike IV's DOE contentions for the '248 patent i~
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                                                                                                         i
                                                                                                         I
    GRANTED.                                                                                         .   I

                                                                                                         I



                   '831 Patent                                                                           I




           With respect to the '831 patynt, Defendants. contend that "!V's.DOE contentions ...

    vitiate the Court's construction of the 'encoding' terms of claims 1 and 9 of the '831 patent,

    which require interleaving a discrete number of packets together into packet blocks." (DI. 440 at

    2; see also D.I. 378 at 7-8) Specifically,Defendants argue that "N's DOE [contentions] do[] not

    even include an identification of the 'packets' required by the claims, never mind the requirement


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  of interleaving a discrete number of packets together." (D.I. 440 at 2) Defendants further notb
                               .                                                            .                      I .
                                                                                                      . !·
  that IV "fails to show" how its DOE contentions - in particular "segmenting transport blocks µito
                                                                                                                   I
  one or more code blocks" and "encoding co~e blocks" (D.I. 440-2 Ex. 3 at 13)- are "equivalJnt

  to interleaving a discrete number of packets together." (D.I. 440 at 2 (emphasis omitted)) .

          IV responds that its contentions "clearly identify what it contends are 'packets' ·and hqw
                                                                                                  "                i
                                                                                                                   l
  'a discrete number' .of those 'packets' are 'interleav[ed] ... together."' (Id. (brackets and                    I




  ellipses in original); see also D.I. 44Q-2 Ex. 3 at 13 ("The accused eNBs perform the function: in
                                                                                                      .        I

                                                                                                               I
  substantially the sa[m]e way, segmenting transport blocks into one or more code blocks,

  encoding code blocks whi~h includes _interleaving, and concatenating one or more encoded code

  block into a code word. The result of a packet block including multiple interleaved packets ij the
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  same."))

          The Court agrees with IV that its contentions provide adequate notice of its DOE theo;ry,

  including by clearly identifying the packets required by the claims and by stating that those                I         ·

                                                                                                               i
                                                                                                               I
                                                                                                               I
  packets are interleaved together. (See D.I. 447 at 4 ("[T]he accused 'eNBs perform the step df
                                                      .                                                        I



  encoding packets into packet blOcks. by encoding transport blocks ... that are comprised of

  packets ... into blocks."') (quoting D.I. 440-2 Ex. 3 at 7); D.I. 440-2 Ex. 3 at 13 ("The accused
                                                                                                          ·1                 '
  eNBs perform the same function in substantially the sa[m]e way, ... encoding code blocks which                             '
      .                                           .       .          .      .                              I


  includes interleaving.")) IV's infringement conten~ioi:ts also note· that "encoding code blocks!'
             .                                                                                             I

  (D.I. 440-2 Ex. 3 at 13) is equivalent to "interl~aving" a discrete munbe~ of code blocks toge~her
                                                                                                           I

  (id.). Thus, IV;s contentions establish equivalency on a limitation-by-limitation basis, "linking
                                                                                                           I



  ... the insubstantiality of differences between the claimed invention and the accused device"j

  and, as a result,   provid~ sufficient notice of N's DOE theory with respect to the '831 patent.!

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  Akzo Nobel C:oatings, Inc., 811 F.3d at 1342.

         Accordingly, Defendants' motion to strike N's DOE contentions with respect to the '831

  patent is DENIED.

          IV' s Infringement Theory for the '83 ~ Patent
                                                                                                         I


                                                                .                                        I
         Defendants ask the Court to strike IV' s infringement theory for the '831 patent becaus:e
                                                                                                         I
                                                                                                    . I
  "IV waited until two weeks before the close of fact discovery to disclose a new theory" for th~
                                                                                                      I
. term "signal drop-out characteristics." (D.I. 440 at 3) Although IV previously "identified .. ·I a
                                                     •                                                I


  si~gle feature" -   called the "channel quality indicator" - "as allegedly corresponding to" the t~nn
                                                                                                      I

  "signal drop-out characteristics," Defendants contend that IV did not identify its new theory ~
                                                                                                .     I



  based on a value called a "NACK" -"as having any relevance to its infririgement 1;heory befo}e
                                                                                     .                I



  its final [infringement] [c]ontentions.". (Id. '(emphasis omitted)) Defendants further contend ¥1at

  they "would be prejudiced if    iv were allowed to pursue this new theory," as Defendants did Jot
                                                                                                     !
                                                                                           •         I

  have an opportunity to "identif[y] prior art, develop[] their invalidity contentions, and [seek]   1




  discovery" based on the NACK technology. (Id.)

         IV counters that its final infringeinent contentions were "timely" "served ... in

  accordance with the parties' agreed-upon schedule" and that the reference to the NACK

  t~chnology was "added in response to the Court's August 12, 2016 claim construction order.'j

  (D.I. 447 at 5) IV further argues that"Defendants cannot plausibly claim surpris_e" or   prejudi~e
  because IV identified NACK technology in response to the Court's. adoption of Defendants'

  claim construction proposal (see D.I. 378 at 6). (D.I. 447 at 5)

         The Court agrees with IV thiit its inti:higement theory, which is contained in its timelt

  served infringement contentions, should not be stricken. While it appears IV had formulated fits


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  NACK-based theory prior to August 2016, N was appropriately pursuing discovery with respect

  to that theory· in the preceding months, and N permissibly relied on the opportunity provided in

  the scheduling order to fmalize infringement contentions after the Court's claim construction·

 .order.

           N's theory is plainly important to its case. The Court is unpersuaded by Defendants'

  contention that they were unfairly prejudiced by the timing of disclosure ofIV's theory.

  Presumably Defendants had already conducted a prior art search consistent with Defendants'.

  proposed constructions, so the combination of the Court's adoption of those constructio.ns and

  IV' s timely service of fmal contentions applying those constructions should not have constituted

  a surprising, preju~icial occurrence for Defendants._ There is no evidence of bad faith or eve~

  willful disregard of a court order; to the contrary, IV has provided a reason~ble explanation fcir its

  failure to disclose its theory earlier. (See id.) (noting that IV amended its infringement

  contentions
         .
              in August, .after deposing Ericsson's witness in July, the earliest date Eric.ssoil's

  witness was available) The Pennypack factors do not favor striking IV's infringement theory:

           Accordingly, Defendants' motion to strike IV's infringement theory for the '831 patent is

  DENIED.

  Moon Motion

  .        . Defendants argue that the Court should strike portions of Dr. Motn's expert report       .·

  relating to claiIIl I of the. '248 patent because the report "attempt[s] to rurrt a new infringement

  theory for the first time, after the deadline for final infringement contentirns and [the] close of

  fact discovery." (D.I. 478 at 1) Specifically, Defendants argue that the illfringement charts
                                           .                 .                I
  attached to Dr. Moon's report "are materially different from [IV's] fmal lnfringement contentions


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  ... [and] reveal, among other things," IV' s -     theory, "a previously-undisclosed th~fory foti
                                                                                                 ·I
  [the 'application aware' limitation of] [c]laim 1 of the ?248 [p]atent." (Id.) Defendants furth~r
                                                                                                     .                   :
                                                                                                                             I

  contend that IV' s failure "to disclose this theory in its final contentions ... led Defendants and
                                                                                                                         [
                                                                                                             '           I



  Ericsson to belie~e that [IV] was not relying on the -        theory for its contentions for [c]lain}

  l." (Id. at 2)

         IV counters that pr. Moon's expert report was submitted in response to Defendants'
                                                                                                                         I
                                                                                                                         I

  failure ''to provide substantive non-infringement contentions until the last day of fact discovefy."
                                                                                                 '                       I
                                                                                                                         i
                                                                                                                         I

  (D.I. 481 at 1; see also id: at 3 ("Dr. Moon's opinion ... is directly responsive to Defendants'!

  last-minute non-infringement contentions.")) IV further contends that it previously identified the

 -theory as corresponding to claim 2 of the '248 patent in its initial infringement           conte~ti~ns ..
                                                   .                              .                                  I


  (See id. at 2-3} As such, in IV's view, "Dr. Moon's opinion regardfng [the] -           [theory] is pot
                                                                                                         I ,
  new" and, therefore, could not have prejudiced Defendants. (Id. at 4)                                  . I


     · · In their reply, Defendants do not dispute tha~ I V ' s - theory was disclosed in IV's ;

  initial infringement contentions, but explain that the disclosure was with respect to claim 2 +- and
                                              .                                                          ;           I



  not claim 1 - and that it was in connection with a "limitation . . . wholly unrelated to the

  'application aware' limitation of [c]laim.1." (D.I. 488 at 1) Defendants also note that, in ;                  J


                                                                                                     :           i
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  contrast to Dr. Moon~s report, which "asserts t h a t - information is at Application Laye~~,"
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  ".IV's initial contentions admit[ted] t h a t - information is not information at Application [
                                                                       .·                                        i
  Layer 7." (Id. (emphasis omitted)) Thus, in Defendants' view, "Dr. Moon's theory is wholl~
                                                            .   .                     .              '           !

                                                                                                                 I
  new" and should be excluded. (Id.) Finally, Defendants contend that their non-infringement                     1




                                                                                                     i :
                                          .                                               .
  contentions were "timely served," "consistent with the [s]cheduling [o]rder." (Id. at 1-2)         : :I
                                                                                                                 :


         The Court agrees with Defendants that portions of Dr. Moon's report violate the Couit's


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  scheduling order, as they-injected a new infringement theoty .into the case on
                                                                               .
                                                                                 October 26, 2016,
                                                                                                I



  two months after IV was required to disclose its final infringement contentions (and tWo     mon~s
  after the close of fuct discovery). (See D .I. 360 at 6) The infringement theory is new with                 I.
  respect to claim 1, even though the -      had been identified by IV previously as sati.sfying a             j



                                                                                                               i

  claim limitation contained in claim 2.

         On balance, the Pennypci.ck factors favor exclusion of the portions of Dr. Moon's report

 that relate to !V's untimely infringement theory. While the challenged portions of Dr. Moon'i
                                                                                                               I

                                                                                                       : I
 report are important, as they go to IV's attempt to prove infringement of claim 1 of the '248.                I

                                                                                                               I


 patent, they have prejudiced Defend~ts, who were ."unable to      ~onduct a proper fact investigahon          I



 and secure rebuttal evidence" specific to claim 1 and the "application aware" limitation     du~ini                .

 fact discovery. (D .I. 4 78 at 2) It iiiay be that
                                                 ,
                                                    the unfair prejudice to Defendants could be   c~Jd in
                                                                                                       j
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                       .                                                                               ,   I

 the months ahead without disrupting the July 2017 trial-perhaps by permitting an·additionali
                                                                                                       I   I
 expert report from Defendants and additional expert disco~ery - and the Court does not find that

 IV acted in bad faith. Yet IV does not provide a convincing explanation for the timing of the

 disclosure of its new theory of infringement, particularly given that IV has always_had the burden
                             .                                             .                       .       1


             .                      .                                                                      I
 of proving infringement (rendering unpersuasive IV's attempt to place the blame on Defendants

 for their timely service of non-infringement contentions) 3 and given the self-evident fact that
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                                                                                                           N
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 has been well aware of t h e - signal since its initial infringement contentions
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                                                                                       (rendering;it~      I
                                                                                                           I


 failure to cite -    in connection with claim 1 an implicit indication that even IV did not belf eve

 ~as pertinent to. analysis ofinfringementof clai~ 1)). Additionally, give~ the concl~s{ons

                                                                                                           I
         3
          While IV now insists it "had good cause to supplement" its infringement contentions· as
 late as service of the Moon Report (D.I. 481 at 3), it never sought leave to do so. Nor, even now,
 has it demonstrated such good cause, for the reasons explained above.

                                                   12
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                    .                                                .                                 .                  I
  the Court has reached above iri connection with other issues relating to theories of infringeme:i;it
                                    '       .            .   .                                             .              !




  of the '248 patent, the Court concludes that IV' s "shifting sands" approach to infringement of/
    .           .                                                                                                         I


  this patent has reached the point at which the Court must grant Defendants the relief sought in'.
                                                             .                                                           I

                                                                                                                         I
  the Moon Motion. See generally Keranos, LLC v. Silicon Storqge Technology, Inc., 797 F.3dl
            .   . .                     .       .   .                               .              .                     I


  1025, 1034-35 (Fed. Cir. 2015) (noting district courts' efforts to require parties to "crystallize'!
                                                                                                                      I
                                                                                        •                             I

  their theories of the case.early in the litigation so as to prevent the shifting sands approach to                 I
  claim construction'') (internal quotation marks omitted).                                 .                        II
                                                                                                                      I
                                                                                                                     I

         Accordingly, Defendants' Moon Motion is GRANTED.

  Motion to Amend

         Defendants' Motion to Amend sought leave to                     am~nd their final identification of prio~ art
  to add a prior art system Defendants had not previously asserted against U.S. Patent No.                           I
                                                                                                                  I
                                                                                                                     I

  6,952,408 (the "'408 patent"). (D.I. 431) Following conclusion of briefing on the Motion to i
                                                                                                                  [




  Amend, the parties filed a Stipulation.Regarding Narrowing of Issues between Plaintiff

  Intellectual Ventures I LLC and Defendants (D.I. 485), which the Court so ordered on December

  8, 2016. As IV has withdrawn its allegati~ns of infringement of the '408 patent (see id.), andi
                            -                                                                                    i
 Defendants' counterclaim's directed to the '408 patent have been dismissed without prejudice:
                                                                                                                 I


  (see ic/.. ), it is unnecessary to determine which prior art should be permitted to be ass~rted aga~st
                                                                                                                 I

 the '408 patent. (See also generally D.I. 495 ("[T]his case now involves only two patents- U.S.

 Patent Nos. 6,640,248 and 5,602,831 ...."); D.I. 500 Goint status report stating same))

         Accordingly, Defendants' Motion to Amend (D.I. 431) is DENIED AS MOOT.

 Discovery Disputes

         .In response to an oral order issued by the Court (D.l. 484),, Defendants submitted a letter
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                                                        13
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  discussing three outstanding discovery disputes on December 9, 2016 (Defendants' "initial

  letter")   (D.I. 490), and on December 13, IV filed a letter responding to the issues raised in

 . Defendants' initial letter (D.I. 495). The parties submitted additional, related letters in

  connection with Defendants' Motion for Leave to File a Reply Letter to Plaintiffs December 13

  Letter (D .I. 497), which the Court HEREBY GRANTS, as it has considered all of the letters in

  determining how to proceed. (See D.I. 497-1, 498) Defep.dants submitted another letter.on

  January 31, 2017, updating the Court on the status of the discovery matters raised in their initial

  letter. (D.I. 520)

        · Having reviewed these letters, IT IS HEREBY ORDERED that the parties shall brief

  the discovery disputes identified in Defendants' January 31, 2017 letter (D.I. 520) on t~e.

  following schedule: (i) Defendants shall submit an opening letter, no longer than three pages, .due

  Thursday, February 16; and (ii) N shall submit an answering letter, no longer than three pages,

  due.Friday, February 17. The Court will hear argument during a teleconference on Tuesday,

  February 21, beginning at 2:00 p.m. Counsel for N shall initiate the call.

  Redactions

             Because this Memorandum Order has been filed under seal, the parties shall meet and

  confer and, no later than February 15, 2017, sub~it a proposed redacted version ofit. Thereafter,

  the Court will issue a publicly-available verison.




  February 14, 2017                                       HON. LEONARD P. ST
  Wilmington, Delaware                                    UNITED STATES DISTRICT COURT


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